                       Case 1-23-43588-nhl                     Doc 7   Filed 10/10/23            Entered 10/10/23 10:23:41



 Information to identify the case:

 Debtor 1:
                       Mohamed Baghat Mohamed                                           Social Security number or ITIN:    xxx−xx−2624
                                                                                        EIN: _ _−_ _ _ _ _ _ _
                       First Name   Middle Name    Last Name

 Debtor 2:                                                                              Social Security number or ITIN: _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)                                                                    EIN: _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court:        Eastern District of New York                     Date case filed for chapter:         11      10/4/23

            1−23−43588−nhl
 Case number:

Official Form 309E2 (For Individuals or Joint Debtors under Subchapter V)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/22

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                                  About Debtor 1:                                           About Debtor 2:
 1. Debtor's full name                            Mohamed Baghat Mohamed

 2. All other names used in the aka Mohamed B. Mohamed
    last 8 years

                                                  9707 4th Avenue
 3. Address                                       Apartment 3W
                                                  Brooklyn, NY 11209−8149

 4. Debtor's attorney                             Tracy L Klestadt
       Name and address                           Klestadt Winters Jureller                                 Contact phone (212) 972−3000
                                                  Southard & Stevens, LLP
                                                  200 West 41st Street                                      Email tklestadt@klestadt.com
                                                  17th Floor
                                                  New York, NY 10036−7203

 5. Bankruptcy trustee                            Gerard R Luckman Esq.                                     Contact phone 516−812−6291
       Name and address                           Subchapter V Trustee                                      Email: gluckman@forchellilaw.com
                                                  Forcelli Deegan Terrana, LLP
                                                  333 Earle Ovington Blvd., Suite 1010
                                                  Uniondale, NY 11553
                                                                                                           For more information, see page 2 >




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Debtor Mohamed Baghat Mohamed                                                                                           Case number 1−23−43588−nhl

 6. Bankruptcy clerk's office                                                                              Hours open:
     Documents in this case may be filed                                                                   9:00 am − 4:30 pm Monday−Friday
     at this address.                        271−C Cadman Plaza East, Suite 1595
     You may inspect all records filed in    Brooklyn, NY 11201−1800                                       Contact phone (347) 394−1700
     this case at this office or online at
     https://pacer.uscourts.gov.                                                                           Date: 10/10/23

 7. Meeting of creditors                                                                                  Location:
     Debtors must attend the meeting to      November 13, 2023 at 12:45 PM                                DUE TO COVID−19, THE MEETING
     be questioned under oath. In a joint                                                                 WILL BE, HELD TELEPHONICALLY.
     case, both spouses must attend.         The meeting may be continued or adjourned to a later         PLEASE CONTACT,
     Creditors may attend, but are not       date. If so, the date will be on the court docket.           Janease.Clarke@usdoj.gov FOR,
     required to do so.
                                                                                                          MORE INFORMATION., NY 11201−1800

 8. Deadlines                                Deadline to file a complaint objecting to discharge or to challenge whether certain
     The bankruptcy clerk's office must      debts are dischargeable (see line 11 for more information):
     receive these documents and any         • if you assert that the debtor is not entitled to receive a discharge of any debts under 11 U.S.C. §
     required filing fee by the following    1141(d)(3), the deadline is the first date set for hearing on confirmation of the plan. The court or its designee
     deadlines.                              will send you notice of that date later.
                                             • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6), the deadline
                                             is: 1/12/24.


                                             Deadline for filing proof of claim:                           Not yet set. If a deadline is set, the court will
                                                                                                           send you another notice.
                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                             www.uscourts.gov or any bankruptcy clerk's office.
                                             Your claim will be allowed in the amount scheduled unless:
                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive another notice.

                                             If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                             must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                             You may file a proof of claim even if your claim is scheduled.
                                             You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.
                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                             proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                             explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                             rights, including the right to a jury trial.


                                             Deadline to object to exemptions:                              Filing Deadline:
                                             The law permits debtors to keep certain property as            30 days after the conclusion of the meeting of
                                             exempt. If you believe that the law does not authorize an      creditors
                                             exemption claimed, you may file an objection.

                                             If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 9. Creditors
    address
              with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.

                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                              court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 10. Filing a Chapter 11
     bankruptcy case
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. The debtor will
                                              generally remain in possession of the property and may continue to operate the debtor's business.

                                                                                                            For more information, see page 3 >




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                                          Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                          See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the debtors
                                          personally except as provided in the plan. If you believe that a particular debt owed to you should be excepted
                                          from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint and pay the filing fee in
11. Discharge of debts                    the bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge of
                                          any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay the filing fee in the clerk's
                                          office by the first date set for the hearing on confirmation of the plan. The court will send you another notice
                                          telling you of that date.
                                          The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                          distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
12. Exempt property                       as exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If
                                          you believe that the law does not authorize an exemption that the debtors claim, you may file an objection. The
                                          bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 8.




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